Case 3:22-cr-00426-JSC Document 49-2 Filed 07/12/23 Page 1 of 9




            EXHIBIT B
7/12/23, 11:58 AM       Case 3:22-cr-00426-JSC
                           Paul                               Document
                                Pelosi attack: Immigration officials           49-2
                                                                     say suspect        Filedwas
                                                                                 David DePape 07/12/23         Page
                                                                                                 in US illegally       2 of 9- ABC7 San Francisco
                                                                                                                 from Canada

                                                      ABC7 Bay Area 24/7 live stream



                              WATCH                                                                          58°                   LOG IN


             NANCY PELOSI



          Paul Pelosi attack: Immigration officials
          say suspect was in US illegally
          By Luz Pena and Lena Howland
          Thursday, November 3, 2022




              EMBED <>        MORE VIDEOS

            House Speaker Nancy Pelosi's husband, Paul Pelosi, released from hospital after being seriously
            injured during targeted break-in at SF home.



          SAN FRANCISCO (KGO) -- David DePape, the man accused of violently attacking
          Paul Pelosi last week, was in the United States illegally and may face deportation,
          the Department of Homeland Security said late Wednesday.

https://abc7news.com/paul-pelosi-attack-suspect-david-depape-in-us-illegally-deportation-charges/12412765/                                          1/8
7/12/23, 11:58 AM       Case 3:22-cr-00426-JSC
                           Paul                               Document
                                Pelosi attack: Immigration officials           49-2
                                                                     say suspect        Filedwas
                                                                                 David DePape 07/12/23         Page
                                                                                                 in US illegally       3 of 9- ABC7 San Francisco
                                                                                                                 from Canada

          "U.S. Immigration and Customs Enforcement (ICE) lodged an immigration
          detainer on Canadian national David DePape with San Francisco County Jail,
          Nov. 1, following his Oct. 28 arrest," the department said.

          MORE: Security cameras at Pelosi's SF home not monitored at time of
          break-in, police confirm

          ICE issues so-called immigration "detainers" to federal, state, and local law
          enforcement agencies to inform them that the agency intends to take custody of
          an individual and requests that ICE be notified before that individual is released.

          The detainer is unlikely to affect DePape's case since deportations often happen
          after criminal cases are resolved. But after conviction and prison sentence, the US
          normally would seek deportation.

          EXCLUSIVE: Former partner of accused Paul Pelosi attacker DePape
          reveals new details about suspect




              EMBED <>           MORE VIDEOS

            The former partner of the man accused of attacking Speaker Pelosi's husband at their
            SF home on Friday is revealing new details about the suspect.


https://abc7news.com/paul-pelosi-attack-suspect-david-depape-in-us-illegally-deportation-charges/12412765/                                          2/8
7/12/23, 11:58 AM       Case 3:22-cr-00426-JSC
                           Paul                               Document
                                Pelosi attack: Immigration officials           49-2
                                                                     say suspect        Filedwas
                                                                                 David DePape 07/12/23         Page
                                                                                                 in US illegally       4 of 9- ABC7 San Francisco
                                                                                                                 from Canada

          "They place this hold on a person who's in criminal custody, meaning as soon as
          the criminal justice system is done, completing its work with this person, and
          then that person is done serving whatever sentence, if they are sentenced to a
          crime, then immigration will come pick them up directly," Anna Benvenue, an
          associate professor of law at Golden Gate University said.

          Benvenue explains DePape likely won't face deportation until both his state and
          federal charges have made their way through the judicial system, including time
          served behind bars.

          "The system is designed to make sure people serve their sentence before being
          deported," she said. "The punishment system that we have in criminal justice
          kind of takes first priority."

          VIDEO: State Sen. Weiner remembers Pelosi attack suspect from 10
          years ago; details death threats he's faced




              EMBED <>           MORE VIDEOS

            As new details emerge about the Friday morning attack on Paul Pelosi, elected officials
            are paying closer attention to their own security detail.




https://abc7news.com/paul-pelosi-attack-suspect-david-depape-in-us-illegally-deportation-charges/12412765/                                          3/8
7/12/23, 11:58 AM       Case 3:22-cr-00426-JSC
                           Paul                               Document
                                Pelosi attack: Immigration officials           49-2
                                                                     say suspect        Filedwas
                                                                                 David DePape 07/12/23         Page
                                                                                                 in US illegally       5 of 9- ABC7 San Francisco
                                                                                                                 from Canada

          Federal records show that DePape entered the U.S. as a temporary visitor in
          2008. Canadians who present themselves at the border typically do not need a
          visa and are admitted into the U.S. for six months.

          "This was politically motivated, he was seeking out the Speaker," Brooke Jenkins,
          the San Francisco District Attorney said.

          Keep in mind, Jenkins says DePape was looking specifically to break Speaker
          Pelosi's kneecaps and take her hostage, saying he wasn't happy with how things
          were going in Washington D.C.

          "Certainly interesting considering the alleged motives that we're hearing from
          reporting about this situation, that he would take such an American, like he's
          acting on behalf of Americans in a way that I would not expect from somebody
          who wasn't American," Benvenue said.

          Bill Hing, Professor of Law and Director of Law and Director of the Immigration
          and Deportation Defense Clinic at the University of San Francisco doesn't believe
          DePape will be deported any time soon despite his immigration status.

          "ICE will not get this person until after he has served his time assuming that he is
          convicted," said Professor Hing.

          On Saturday, a day after the attack DePape's former partner gave insight about
          his immigration status.

          "I don't think he had a visa. He was just here. He didn't ask for a visa. He just
          stayed here," said Oxane Taub. "One time he went back to Canada when we broke
          up and then he came back."

          It's believed that DePape overstayed his six month temporary visa to be in the
          U.S. DePape was arrested in San Francisco, a sanctuary city, but in this case this
          protection won't help DePape.

          "The sanctuary ordinance does not protect someone who has been convicted of a
          serious crime. So, assuming he is convicted of a serious crime sanctuary
https://abc7news.com/paul-pelosi-attack-suspect-david-depape-in-us-illegally-deportation-charges/12412765/                                          4/8
7/12/23, 11:58 AM       Case 3:22-cr-00426-JSC
                           Paul                               Document
                                Pelosi attack: Immigration officials           49-2
                                                                     say suspect        Filedwas
                                                                                 David DePape 07/12/23         Page
                                                                                                 in US illegally       6 of 9- ABC7 San Francisco
                                                                                                                 from Canada

          ordinance will not protect him," said Hing.

          DePape entered a not guilty plea Tuesday to all state charges during his initial
          appearance in court. He will be back in court Friday for a bail hearing related to
          his state charges.

          There has not been a date set for his federal court appearance at this time.

          CNN contributed to this report.

          VIDEO: Who's David DePape? What we know about suspect in attack
          on Nancy Pelosi's husband at SF home




              EMBED <>           MORE VIDEOS

            David DePape, the suspect in a violent attack on Nancy Pelosi's husband inside their
            home, took a hard turn to conspiracy theories in recent months.




https://abc7news.com/paul-pelosi-attack-suspect-david-depape-in-us-illegally-deportation-charges/12412765/                                          5/8
7/12/23, 11:58 AM       Case 3:22-cr-00426-JSC
                           Paul                               Document
                                Pelosi attack: Immigration officials           49-2
                                                                     say suspect        Filedwas
                                                                                 David DePape 07/12/23         Page
                                                                                                 in US illegally       7 of 9- ABC7 San Francisco
                                                                                                                 from Canada




          If you're on the ABC7 News app, click here to watch live




                           Get ABC7’s top stories delivered to your
                                   inbox every morning
                                                   Sign up for our daily newsletter

                          Email Address*

                             Name@emaildotcom


                          Yes! I would like to receive the Daily News Headlines Newsletter. By creating an
                          account, you agree to our Terms of Use and acknowledge that you have read
                          our Privacy Policy and US State Privacy Rights Notice.


                                                                       Sign Up




          Report A Correction Or Typo
https://abc7news.com/paul-pelosi-attack-suspect-david-depape-in-us-illegally-deportation-charges/12412765/                                          6/8
7/12/23, 11:58 AM       Case 3:22-cr-00426-JSC
                           Paul                               Document
                                Pelosi attack: Immigration officials           49-2
                                                                     say suspect        Filedwas
                                                                                 David DePape 07/12/23         Page
                                                                                                 in US illegally       8 of 9- ABC7 San Francisco
                                                                                                                 from Canada

          Copyright © 2023 KGO-TV. All Rights Reserved.



          Related Topics
             SAN FRANCISCO               ARREST            ASSAULT            ATTACK           BREAK IN         SFPD


             POLITICS           U.S. & WORLD              NANCY PELOSI               POLICE           INVESTIGATION




https://abc7news.com/paul-pelosi-attack-suspect-david-depape-in-us-illegally-deportation-charges/12412765/                                          7/8
7/12/23, 11:58 AM       Case 3:22-cr-00426-JSC
                           Paul                               Document
                                Pelosi attack: Immigration officials           49-2
                                                                     say suspect        Filedwas
                                                                                 David DePape 07/12/23         Page
                                                                                                 in US illegally       9 of 9- ABC7 San Francisco
                                                                                                                 from Canada




   Home

   AccuWeather

   Traffic

   Local News

   Categories

   Station Info

   Shows

   Apps




                                                                                                             Follow Us:


                                         Privacy Policy    Do Not Sell or Share My Personal Information

                                    Children's Privacy Policy    Your US State Privacy Rights       Terms of Use

                                         Interest-Based Ads Public Inspection File        FCC Applications




                                    Copyright © 2023 ABC, Inc., KGO-TV San Francisco. All Rights Reserved.




https://abc7news.com/paul-pelosi-attack-suspect-david-depape-in-us-illegally-deportation-charges/12412765/                                          8/8
